                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-103

                                       No. COA18-536-2

                                      Filed 6 April 2021

     Dare County, Nos. 16CRS000267, -050291; 17CRS000010

     STATE OF NORTH CAROLINA

                  v.

     GREGORY JEROME WYNN, JR., Defendant.


           Appeal by defendant from judgments entered on or about 15 November 2017

     by Judge Jerry R. Tillett in Superior Court, Dare County. Heard in the Court of

     Appeals 13 February 2019 and opinion filed 5 March 2019. Remanded to this Court

     by order of the North Carolina Supreme Court for further consideration in light of

     State v. Golder, 374 N.C. 238, 839 S.E.2d 782 (2020).


           Attorney General Joshua H. Stein, by Special Deputy Attorney General
           Matthew Tulchin, for the State.

           Anne Bleyman, for defendant-appellant.

           STROUD, Chief Judge.


¶1         On remand from the North Carolina Supreme Court, we review defendant’s

     first argument on appeal in accordance with State v. Golder, 374 N.C. 238, 839 S.E.2d

     782 (2020). We conclude there was not sufficient evidence of a firearm, and thus

     defendant’s conviction for possession of a firearm by a felon must be vacated. We also

     conclude there was sufficient evidence of constructive possession of controlled
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     substances, and thus defendant’s convictions for trafficking in heroin by possession,

     possession with the intent to sell or deliver a controlled substance, and attaining the

     status of habitual felon, remain intact. There is no error in the judgments entered

     for trafficking in heroin by possession, possession with the intent to sell or deliver a

     controlled substance, and attaining the status of habitual felon,

                                           I.     Background

¶2         We begin with the procedural and factual background of this case.

     A.    Procedural Background

¶3         Defendant appealed “his convictions for possession of a firearm by a felon,

     trafficking in heroin by possession, possession with the intent to sell or deliver

     cocaine, and attaining the status of habitual felon.” State v. Wynn, 264 N.C. App.

     250, 824 S.E.2d 210, slip op. *1 (COA18-536) (2019) (unpublished) (“Wynn I”). This

     Court concluded there was no error. See Wynn I, 264 N.C. App. 250, 824 S.E.2d 210.

     Defendant filed a “petition for discretionary review and motion in the alternative to

     remand” with the Supreme Court of North Carolina. State v. Wynn, 374 N.C. 427,

     840 S.E.2d 781 (Mem) (2020).         The Supreme Court allowed the petition for

     discretionary review “for the limited purpose of remanding this case to the Court of

     Appeals for further consideration in light of this Court’s decision in State v. Golder,

     374 N.C. 238, 839 S.E.2d 782 (2020).” Id. We now take up defendant’s case “for the

     limited purpose” of considering it in light of Golder.
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     B.   Factual Background

¶4        The background of this case was provided by this Court in Wynn I:

                       The State’s evidence tended to show that on 14
                March 2016, the Dare County Sheriff’s Department
                received a call regarding a suspicious person on Jones
                Circle. Deputy Sheriff Andrew Creech noticed a screen
                pulled out of a window of a home, and the window was
                open; inside the house he saw defendant. Deputy Creech
                tried to coax defendant outside of the house, but he would
                not come as he claimed people were “after him.” Defendant
                was “very active in the house” and [Deputy Creech saw
                him] walking around much of the interior, heard slamming
                doors or drawers, and saw defendant pulling up his pants.
                Defendant eventually came out of the house with $2,216.00
                in cash and a white substance on and in his nose.
                Defendant told law enforcement he had a gun when he was
                running to the house – he was running from the people he
                claimed were “after him” -- but was not sure where he
                dropped it.
                       The law enforcement officers called the man who
                owned the house, [Mr. Gradeless,] and he allowed them to
                search the house. Inside they found a black plastic bag
                containing smaller red plastic baggies of cocaine and
                heroin, digital scales, and a pistol magazine.            The
                homeowner said none of the items belonged to him. Law
                enforcement then searched defendant’s home and found
                several bullet holes, some from shots fired from inside the
                house and some from shots fired from the outside into the
                house.
                       Defendant was indicted for trafficking in heroin by
                possession, possession with the intent to sell or deliver a
                controlled substance, possession of a firearm by a felon, and
                attaining the status of habitual felon. At defendant’s trial,
                two witnesses testified that they had purchased heroin and
                cocaine from defendant, always in a little red plastic baggie
                similar to those recovered by law enforcement. A jury
                found defendant guilty of all of the charges against him;
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                  defendant pled to attaining the status of habitual felon;
                  and the trial court entered judgments accordingly.
                  Defendant appeals.

     Wynn I at *2-3.

                              II.    Sufficiency of the Evidence

¶5         Defendant’s first argument on appeal challenged the sufficiency of the evidence

     against him. See id. at *3. In Wynn I, this Court dismissed defendant’s argument for

     failure to preserve the issue before the trial court. Id. at *3-6. In Golder, while

     analyzing whether a motion to dismiss was adequate to preserve the issue of

     sufficiency of the elements of the crimes, our Supreme Court held “under Rule 10(a)(3)

     and our case law, defendant’s simple act of moving to dismiss at the proper time

     preserved all issues related to the sufficiency of the evidence for appellate review.”

     Golder, 374 N.C. at 246, 839 S.E.2d at 788.

     A.    Application of State v. Golder to Motion for Directed Verdict

¶6         Defendant’s attorney moved for a directed verdict at the close of the State’s

     evidence:

                  “For the defense, Your Honor, at the close of the State’s
                  case, we would move for a directed verdict in favor of the
                  defendant. I do not care to argue that motion, however.”
                  The trial court denied the motion. Defendant did not
                  present any evidence and at the close of all of the evidence
                  his attorney stated, “I would just renew my motions.”

     Wynn I at *3.
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¶7         The State contends that defendant’s motions for a directed verdict do not

     suffice as a motion to dismiss pursuant to Rule 10(a)(3) as noted in Golder. See

     generally id. The State cites no law for why the two motions – a motion for directed

     verdict and a motion to dismiss – should be treated differently for purposes of Golder,

     but instead simply relies upon the argument that Golder is applicable only to motions

     to dismiss made under Rule 10(a)(3).

                         A motion for directed verdict is to test the legal
                  sufficiency of the evidence to take the case to the jury. This
                  is a high standard for the moving party, requiring a denial
                  of the motion if there is more than a scintilla of evidence to
                  support the non-movant’s prima facie case. In passing on
                  a motion for directed verdict, the trial court must consider
                  the evidence in the light most favorable to the nonmovant,
                  and conflicts in the evidence together with inferences
                  which may be drawn therefrom must be resolved in favor
                  of the nonmovant.

     Coates v. Niblock Development Corp., 161 N.C. App. 515, 516–17, 588 S.E.2d 492, 493
     (2003) (citations and quotation marks omitted).

¶8         “When granted, the common law motion for a directed verdict resulted in a

     judgment on the merits in either a criminal or a civil case.” Cutts v. Casey, 278 N.C.

     390, 419, 180 S.E.2d 297, 312 (1971). In State v. Clanton, our Supreme Court noted

     that a motion to dismiss and a motion for a directed verdict are “interchangabl[e]”

     terms that should be applied the same. See 278 N.C. 502, 504, 180 S.E.2d 5, 6 (1971)

     (noting “[t]o survive a motion to dismiss, or for a directed verdict of not guilty, or for
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       judgment as of nonsuit (used interchangeably in criminal prosecutions) the evidence

       must be sufficient to permit a legitimate inference the defendant committed every

       essential element of the crime charged” (emphasis added)).

¶9            Because our Supreme Court has noted a motion to dismiss and a motion for a

       directed verdict are “interchangabl[e]” terms in criminal cases, we conclude

       defendant’s motion for a directed verdict should be reviewed in the same manner as

       a motion to dismiss. See id. Accordingly, “defendant’s simple act of moving to dismiss

       at the proper time preserved all issues related to the sufficiency of the evidence for

       appellate review.” Golder, 374 N.C. at 246, 839 S.E.2d at 788.

       B.     Motion for Directed Verdict

¶ 10          We thus consider whether the trial court erred in denying defendant’s motion

       for directed verdict based on insufficiency of the evidence as to “his convictions for

       possession of a firearm by a felon, trafficking in heroin by possession, possession with

       the intent to sell or deliver cocaine, and attaining the status of habitual felon.” Wynn

       I at *1.

              1.    Standard of Review

                    In ruling on a motion for a directed verdict or a motion to
                    dismiss, the trial court must determine whether the State
                    has offered substantial evidence of the defendant’s guilt on
                    every essential element of the crime charged. Substantial
                    evidence requires that the evidence must be existing and
                    real, not just seeming and imaginary. In considering the
                    evidence, the State is entitled to every reasonable inference
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                    that may be drawn therefrom.              Contradictions and
                    discrepancies in the evidence are for the jury to decide. The
                    test for sufficiency of the evidence is the same regardless of
                    whether the evidence is circumstantial or direct. When a
                    motion for a directed verdict involves circumstantial
                    evidence in a case:
                           The court must decide whether a reasonable
                           inference of the defendant’s guilt may be
                           drawn from the circumstances shown. If so
                           the jury must then decide whether the facts
                           establish beyond a reasonable doubt that the
                           defendant is actually guilty.

       State v. McKenzie, 122 N.C. App. 37, 45, 468 S.E.2d 817, 824 (1996) (citations and

       brackets omitted).

             2.     Possession of a Firearm by a Felon

¶ 11         Defendant contends that the trial court erred in denying his motion for directed

       verdict on the charge of possession of firearm by a felon because there was insufficient

       evidence of the existence of a firearm. “The State need only prove two elements to

       establish the crime of possession of a firearm by a felon: (1) defendant was previously

       convicted of a felony; and (2) thereafter possessed a firearm.” State v. Cunningham,

       188 N.C. App. 832, 836, 656 S.E.2d 697, 700 (2008) (citation, quotation marks, and

       brackets omitted); see N.C. Gen. Stat. §14-415.1 (2015).

¶ 12         In this case, the primary evidence of defendant’s possession of a firearm was

       his statement to the officers that he had a gun before they arrived at the house.

       “Defendant told law enforcement he had a gun when he was running to the house –
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       he was running from the people he claimed were ‘after him’ – but was not sure where

       he dropped it.” Wynn I at *2. The officers never found a gun, either in the house

       where defendant was found, in defendant’s home, or in the area outside where

       defendant said he dropped it before he entered the house.

¶ 13          The State contends sufficient evidence tended to show defendant possessed a

       firearm “because the police recovered a 9mm pistol magazine from the house

       defendant had broken into, defendant admitted to possessing a gun, and the police

       found 9mm shell casings, bullet fragments, and bullet holes in defendant’s home.”

       (Original in all caps.)

¶ 14          A pistol magazine was found in the house defendant had broken into, but a

       magazine alone is not a firearm. See N.C. Gen. Stat. § 14–415.1(a) (2015) (“For the

       purposes of this section, a firearm is (i) any weapon, including a starter gun, which

       will or is designed to or may readily be converted to expel a projectile by the action of

       an explosive, or its frame or receiver, or (ii) any firearm muffler or firearm silencer.”).

       A pistol magazine alone is not a weapon “which will or is designed to or may readily

       be converted to expel a projectile by the action of an explosive” nor is it a muffler or

       silencer.   Id. As for the shell casings and bullet fragments and holes found at

       defendant’s home, there no evidence as to when a gun may have been fired or who

       fired it. Thus, the evidence presents an issue of corpus delicti. See generally State v.

       Parker, 315 N.C. 222, 236, 337 S.E.2d 487, 495 (1985).
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¶ 15         Where a defendant has confessed to a crime, this confession is not sufficient

       evidence to support a conviction unless there is “substantial independent evidence

       tending to establish” the “trustworthiness” of the confession “including facts” which

       strongly corroborate the “essential facts and circumstances embraced in the

       defendant’s confession.” Id.
                    We adopt a rule in non-capital cases that when the State
                    relies upon the defendant’s confession to obtain a
                    conviction, it is no longer necessary that there be
                    independent proof tending to establish the corpus delicti of
                    the crime charged if the accused’s confession is supported
                    by substantial independent evidence tending to establish
                    its trustworthiness, including facts that tend to show the
                    defendant had the opportunity to commit the crime.
                           We wish to emphasize, however, that when
                    independent proof of loss or injury is lacking, there must be
                    strong corroboration of essential facts and circumstances
                    embraced in the defendant’s confession. Corroboration of
                    insignificant facts or those unrelated to the commission of
                    the crime will not suffice. We emphasize this point because
                    although we have relaxed our corroboration rule
                    somewhat, we remain advertent to the reason for its
                    existence, that is, to protect against convictions for crimes
                    that have not in fact occurred.

       State v. Parker, 315 N.C. 222, 236, 337 S.E.2d 487, 495 (1985) (emphasis added).

¶ 16         Here, the only evidence of a gun or defendant’s possession was his statement

       that he had a gun before the officers arrived at the house. The house was not his

       home or residence. No gun was found in the area where defendant claimed he had

       dropped it. There was no evidence of any gunshots fired. There was no “proof of loss
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       or injury[.]” Id. The magazine was found in Mr. Gradeless’s house, while the shell

       casings, bullet fragments and holes were found at defendant’s residence, but there

       was no evidence regarding when a gun was fired either from or into defendant’s

       residence. This evidence does not provide “strong corroboration of essential facts and

       circumstances embraced in the defendant’s confession.”           Id.   The magazine in

       conjunction with the shell casings, bullet fragments and holes are “insignificant facts

       or those unrelated to the commission of the crime[.]” Id.
¶ 17         It is important to note here, that without some evidence of a firearm beyond

       defendant’s own statement, whether recovery of a firearm, evidence that someone

       heard or saw gunfire, evidence that another person saw the alleged firearm, or injury

       to a person or property, there is simply no evidence the alleged crime even took place,

       and thus to convict defendant on such little evidence risks “conviction[] for [a] crime[]

       that ha[s] not in fact occurred.” Id. We conclude the trial court erred in failing to

       dismiss the charge of possession of a firearm by a felon. As such, we must vacate

       defendant’s conviction for possession of a firearm by a felon.

             3.     Possession of Controlled Substances

¶ 18         As for defendant’s convictions for trafficking in heroin by possession and

       possession with the intent to sell or deliver a controlled substance, defendant
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challenges only the element of possession. See generally N.C. Gen. Stat. § 90-95
(2015).1

                   The State must prove that Defendant possessed . . .
             [a controlled substance] either actually or constructively.
             Actual possession requires that a party have physical or
             personal custody of the item. A person has constructive
             possession of an item when the item is not in his physical
             custody, but he nonetheless has the power and intent to
             control its disposition.

State v. Wirt, 263 N.C. App. 370, 373, 822 S.E.2d 668, 671 (2018) (citation and

quotation marks omitted). For purposes of constructive possession,

             the State is not required to prove actual physical
             possession of the controlled substance; proof of constructive
             possession is sufficient and such possession need not be
             exclusive. Constructive possession exists when a person,
             while not having actual possession of the controlled
             substance, has the intent and capability to maintain
             control and dominion over a controlled substance. Where
             a controlled substance is found on premises under the
             defendant’s control, this fact alone may be sufficient to
             overcome a motion to dismiss and to take the case to the
             jury. If a defendant does not maintain control of the
             premises, however, other incriminating circumstances
             must be established for constructive possession to be
             inferred.

State v. Neal, 109 N.C. App. 684, 686, 428 S.E.2d 287, 289 (1993) (citations omitted).

North Carolina courts have issued an abundance of case law addressing the specific




1 North Carolina General Statute § 90-95 has since been amended.   See N.C. Gen. Stat. § 90-
95 (2020).
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factual nuances of constructive possession as was noted by our Supreme Court in

State v. Miller, 363 N.C. 96, 99–100, 678 S.E.2d 592, 594–95 (2009):

                    Our cases addressing constructive possession have
             tended to turn on the specific facts presented. See, e.g.,
             Butler, 356 N.C. at 143–44, 147–48, 567 S.E.2d at 138–39,
             141 (finding constructive possession when the defendant
             acted suspiciously upon alighting from a bus; hurried to a
             taxicab and yelled “let’s go” three times; fidgeted and
             ducked down in the taxicab once in the back seat, then
             exited the taxicab at the instruction of police officers and
             walked back to the bus terminal without being told to do
             so, drawing officers away from the taxicab; and drugs were
             recovered from under the driver’s seat of the taxicab
             approximately ten minutes later when the cab returned
             from giving another customer a ride); Matias, 354 N.C. at
             550–52, 556 S.E.2d at 270–71 (finding constructive
             possession when officers, after smelling marijuana
             emanating from a passing automobile occupied by the
             defendant and three others, recovered marijuana and
             cocaine stuffed between the seat pad and back pad where
             the defendant had been seated, and an officer testified the
             defendant was the only occupant who could have placed the
             package there); State v. Brown, 310 N.C. 563, 569–70, 313
             S.E.2d 585, 588–89 (1984) (finding sufficient other
             incriminating circumstances when cocaine and other drug
             packaging paraphernalia were found on a table beside
             which the defendant was standing when the officers
             entered the apartment, the defendant had been observed
             at the apartment multiple times, possessed a key to the
             apartment, and had over $1,700 in cash in his pockets);
             State v. Baxter, 285 N.C. 735, 736–38, 208 S.E.2d 696, 697–
             98 (1974) (finding constructive possession when the
             defendant was absent from the apartment when police
             arrived but a search of the bedroom that the defendant and
             his wife occupied yielded men’s clothing and marijuana in
             a dresser drawer, with additional marijuana found in the
             pocket of a man’s coat in the bedroom closet); State v. Allen,
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                    279 N.C. 406, 408, 412, 183 S.E.2d 680, 682, 684–85 (1971)
                    (finding constructive possession when, even though the
                    defendant was absent from the apartment at the time of a
                    search, heroin was found in the bedroom and kitchen; the
                    defendant’s identification and other personal papers were
                    in the bedroom, public utilities for the premises were listed
                    in the defendant’s name; and a witness testified that the
                    defendant had provided heroin to him for resale).

       Id. Miller went on to explain, “These and other cases demonstrate that two factors

       frequently considered are the defendant’s proximity to the contraband and indicia of

       the defendant’s control over the place where the contraband is found.” Id.
¶ 19         In this case, the controlled substances were not found in defendant’s actual

       possession or in a domain exclusively controlled by him, and thus we must consider

       “other incriminating circumstances[,]” Neal, 109 N.C. App. at 686, 428 S.E.2d at 289,

       remaining mindful of “defendant’s proximity to the contraband and indicia of the

       defendant’s control over the place where the contraband is found.” Miller, 363 N.C.

       at 100, 678 S.E.2d at 595.

¶ 20         Here, the local sheriff’s department was called reporting a “suspicious

       person[.]” Wynn I at *2. Law enforcement “noticed a screen pulled out of a window

       of a home, and the window was open[.]” Id. “[I]nside the house [law enforcement]

       saw defendant[;]” though the home was not his. Id. “Defendant was ‘very active in

       the house’ and seen walking around much of the interior and heard slamming doors
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       or drawers[;]” id., thus, defendant’s presence was not limited to one room or particular

       spot; defendant moved throughout the house as if exercising dominion over the space.

       “Defendant eventually came out of the house with $2,216.00 in cash and a white

       substance on and in his nose.”

                           The law enforcement officers called the man who
                    owned the house, and he allowed them to search the house.
                    Inside they found a black plastic bag containing smaller
                    red plastic baggies of cocaine and heroin, digital scales, and
                    a pistol magazine. The homeowner said none of the items
                    belonged to him.

¶ 21         The cocaine and heroin found inside the house coupled with the white powder

       on defendant’s nose tend to show the drugs belonged to defendant, particularly in

       light of the fact that the controlled substances were packaged in red plastic baggies,

       a method used by defendant for selling drugs. The State presented sufficient evidence

       of possession of the controlled substances for both defendant’s trafficking in heroin

       by possession and possession with the intent to sell or deliver a controlled substance

       convictions. As such, the trial court did not err in denying defendant’s motion for

       directed verdict on his controlled substance charges.

                                     III.     Evidence of Other Wrongs

¶ 22         In Wynn I, we considered another issue on appeal under Rules 403 and 404,

       see Wynn I at *6-10, but we note the Supreme Court remanded this case for the

       limited purpose of considering this case under Golder, see Wynn, 374 N.C. 427, 840
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       S.E.2d 781, and we conclude Golder applies only as to defendant’s first argument on

       appeal. As such, the Supreme Court left, and we shall too, leave intact our prior

       analysis, regarding defendant’s second argument of evidence of other wrongs.

                                         IV.    Conclusion

¶ 23         As to defendant’s conviction for possession of a firearm by a felon, we vacate.

       As there was evidence of constructive possession of the controlled substances, we

       conclude there was no error as to defendant’s convictions and judgments for

       trafficking in heroin by possession, possession with the intent to sell or deliver a

       controlled substance, and attaining the status of habitual felon.

             VACATED IN PART; NO ERROR IN PART.

             Judges TYSON and ARROWOOD concur.
